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...   ,   .- .

AO 93 (Rev 12/09) Search and Seizure Warrant



                                        UNITED STATES DISTRICT COURT
                                                                         for the
                                                           Southern District of Florida

                     In the Matter of the Search of                           )
                 (Briefly describe the property to be searched                )
                  or identify the person by name and address)                 ) Case No.          19-6033-SNOW
                                                                              )
                   , Fort Lauderdale, Florida               (further
                  described in Attachment "A")                                )
                                                                              )

                                               SEARCH AND SEIZURE WARRANT
To:          Any authorized law enforcement officer

         An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the        Southern           District of             Florida
(identify the person or describe the property to be searched and give its location):
                   Fort Lauderdale, Florida       (further described in Allachmenl nAn)


            The person or property to be searched, described above, is believed to conceal (identify the person or describe the
property to be seized):

See Attachment "8."

        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
property.

             YOU ARE COMMANDED to execute this warrant on or before                                  F~ . l ~f1
                                                                                                                (nottJ exceed f 4 days)
          ~ in the daytime 6:00 a.m. to 10 p.m.                  o   at any time in the day or night as I find reasonable cause has been
                                                                     established.

         Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property
taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the
place where the property was taken .
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to United States Magistrate Judge
Lurana S. Snow
                                   (name)

      o I find that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 (except for delay
of trial), and authorize the officer executing this warran~ to delay notice to the person who, or whose property, will be
searched or seized (check the appropriate box) 0 for             days (not to exceed 30).
                      J,.SS                             0 until, the facts justifying, the later specific date of

Date and time issued:         j,jf}.yl fCj                   1~· d.6
                                                                 Ph           ~
                                                                                 ~.JJ ~                   Judge's signatllre

City and state:         Fort Lauderdale, Florida                                          Lurana S . Snow, United States Magistrate Judge
                                                                                                        Printed name and title
. .   Case 1:19-mc-00029-CRC Document 29-33 Filed 04/28/20 Page 2 of 53



                                        ATTACHMENT A

       The address of the                                   , Fort Lauderdale, Florida




      Two photographs of the exterior of the Subject Premises are attached below.




                                         Page 1 of1
        Case 1:19-mc-00029-CRC Document 29-33 Filed 04/28/20 Page 3 of 53
.'




                                            ATTACHMENT B

                            Property to be seized from the Subject Premises

        1.        The items to be seized are fruits, evidence, information relating to, contraband, or

 instrumentalities of violations Title 18, United States Code, Section 1505 (obstruction of

 proceeding); (ii) Title 18, United States Code, Section 1001 (false statements); and (iii) Title 18,

 United States Code 1512(b)(1) (witness tampering), those violations involving Roger Stone, for

 the time period June 2015 to the present, including:

             a. Documents and communications that discuss or are related to WikiLeaks, Julian

                  Assange, and/or Russian interference in the 2016 U.S. presidential election;

             b. Documents reflecting communications between Stone and Jerome Corsi;

             c. Documents reflecting communications between Stone and Randy Credico;

             d. Documents reflecting communications between Stone and members of the Trump

                  Campaign or Trump Campaign associates, including Steve Bannon,                     ,

                  Paul Manafort, Richard Gates, and Donald J. Trump;

             e.   Documents related to or discussing the U.S. House of Representatives Permanent

                  Select Committee on Intelligence, the Senate Select Committee on Intelligence, or

                  the Federal Bureau ofInvestigation;

             f.   Records and information relating to the e-mail accounts

                  and

             g. Records and information relating to the WhatsApp account associated with

                  telephone number                 ;

             h. Records and information relating to the Signal account associated with telephone

                  number                ;



                                              Page 1 of3
. . ...
  ,          Case 1:19-mc-00029-CRC Document 29-33 Filed 04/28/20 Page 4 of 53



                  1.   Records and infonnation relating to the Wic1er account associated with telephone

                       number                   ;

                  J.   Any computers, media storage devices, tablets/iPads, cellular telephones,

                       smartphones, personal data assistant devices, or other electronic devices used to

                       commit the violations described above or to store records or documents described

                       above;

                  k. Records of personal and business activities relating to the operation and

                       ownership of the computer systems, such as telephone records, notes, notebooks,

                       diaries, and reference materials, in whatever fonn;

                  1.   Records pertaining to accounts held with Internet Service Providers or of Internet

                       use, in whatever fonn;

             2.        For any computer or storage medium whose seizure is otherwise authorized by

      this warrant, and any computer or storage medium that contains or in which is stored records or

      infonnation that is otherwise called for by this warrant (hereinafter, "COMPUTER"):

                  a. evidence of who used, owned, or controlled the COMPUTER at the time the

                       things described in this warrant were created, edited, or deleted, such as logs,

                       registry entries, configuration files, saved usernames and passwords, documents,

                       browsing history, user profiles, email, email contacts, "chat," instant messaging

                       logs, photographs, and correspondence;

                  b. evidence of software that would allow others to control the COMPUTER, such as

                       viruses, Trojan horses, and other fonns of malicious software, as well as evidence

                       of the presence or absence of security software designed to detect malicious

                       software;



                                                    Page 2 of3
..   ..   Case 1:19-mc-00029-CRC Document 29-33 Filed 04/28/20 Page 5 of 53



             c. evidence of the lack of such malicious software;

             d. evidence indicating how and when the computer was accessed or used to

                  determine the chronological context of computer access, use, and events relating

                  to crime under investigation and to the computer user;

             e. evidence indicating the computer user's state of mind as it relates to the crime

                  under investigation;

             f.   evidence of the attachment to the COMPUTER of other storage devices or similar

                  containers for electronic evidence;

             g. evidence of counter-forensic programs (and associated data) that are designed to

                  eliminate data from the COMPUTER;

             h. evidence of the times the COMPUTER was used;

             1.   passwords, encryption keys, and other access devices that may be necessary to

                  access the COMPUTER;

            J.    documentation and manuals that may be necessary to access the COMPUTER or

                  to conduct a forensic examination of the COMPUTER;

             k. records of or information about Internet Protocol addresses used by the

                  COMPUTER;

             l.   records of or information about the COMPUTER's Internet activity, including

                  firewall logs, caches, browser history and cookies, "bookmarked" or "favorite"

                  web pages, search terms that the user entered into any Internet search engine, and

                  records of user-typed web addresses;

             m. contextual information necessary to understand the evidence described in this

                  attachment.



                                              Page 3 of3
                 Case 1:19-mc-00029-CRC Document 29-33 Filed 04/28/20 Page 6 of 53
  ·   "


AO 93 (Rev. 12/ 09) Search and Seizure Warrant (Page 2)


                                                               Return
Case No.:                              Date and time warrant executed:       Copy ofwarrant and inventory left with:
 19-6033-SNOW
InventOlY made in the presence of:

Inventory ofthe property taken and name ofany person(s) seized:




                                                             Certification


       I declare under penalty ofperjury that this inventory is correct and was returned along with the original
warrant to the designated judge.



Date:
                                                                                   Executing officer 's signature


                                                                                      Printed name and title
        ...           Case 1:19-mc-00029-CRC Document 29-33 Filed 04/28/20 Page 7 of 53
    AD 106 (R ev 04 / 10) Application for a Search Warrant



                                            UNITED STATES DISTRICT COURT
                                                                           for the
                                                                Southern District of Florida

                    In the Matter of the Search of                                )
               (Briefly describe the property to be searched                      )
                or identify the person by name and address)                                  Case No. 19-6033-SNOW
                                                                                  )
.                    , Fort Lauderdale, Florida         (further described in     )
                                Attachment nAn)                                   )
                                                                                  )

                                                   APPLICATlON FOR A SEARCH WARRANT
            I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
    penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
    property to be searched and give its location):
                       Fort Lauderdale, Florida          (further described in Attachment nAn)


                       Southern
    located in the --------------- District of           Florida         , there is now concealed                                       (identify the
                                               - -----------------------
    person or describe the property to be seized):

     See Attachment "B."

                The basis for the search under Fed . R. Crim. P. 41 (c) is (check one or more):
                     ~ evidence of a crime;
                     ~ contraband, fruits of crime, or other items illegally possessed ;
                      f'i property designed for use, intended for use, or used in committing a crime;
                      o   a person to be arrested or a person who is unlawfully restrained.
                The search is related to a violation of:
                  Code Section                                                                   Offense Description
              18U.S.C.1505                              Obstruction of Proceeding
              18 U.S.C. 1001                            False Statements
              18 U.S.C. 1512(b)(1)                      Witness Tampering
                The application is based on these facts :
              see attached affidavit.

                Ii Continued on the attached sheet.
                o    Delayed notice of       days (give exact ending date if more than 30 days :                                     ) is requested
                     under 18 U.S.c. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                          &, ~p:fL ,;;::!:'~
                                                                                                     Curtis A. Heide, Special Agent, FBI
                                                                                                            Printed name and title

    Sworn to before me and signed in my presence.

    Date      I ji9-'1}/j                                                       ~.~.A. ~                      Judge 's signature

    City and state: Fort Lauderdale, Florida                                               Lurana S. Snow, United States Magistrate Judge
                                                                                                            Printed name and title
Case 1:19-mc-00029-CRC Document 29-33 Filed 04/28/20 Page 8 of 53



                                   ATTACHMENT A

 The address of the Subject Premises is                  Fort Lauderdale, Florida




 Two photographs of the exterior of the Subject Premises are attached below.




                                    Page 1 of 1
t   '>t'      Case 1:19-mc-00029-CRC Document 29-33 Filed 04/28/20 Page 9 of 53




                                                  ATTACHMENT B

                                 Property to be seized from the Subject Premises

              1.        The items to be seized are fruits, evidence, information relating to, contraband, or

       instrumentalities of violations Title 18, United States Code, Section 1505 (obstruction of

       proceeding); (ii) Title 18, United States Code, Section 1001 (false statements); and (iii) Title 18,

      United States Code 1512(b)(1) (witness tampering), those violations involving Roger Stone, for

       the time period June 2015 to the present, including:

                   a. Documents and communications that discuss or are related to WikiLeaks, Julian

                        Assange, and/or Russian interference in the 2016 U.S. presidential election;

                   b. Documents reflecting communications between Stone and Jerome Corsi;

                   c. Documents reflecting communications between Stone and Randy Credico;

                   d. Documents reflecting communications between Stone and members of the Trump

                        Campaign or Trump Campaign associates, including Steve Bannon,                     ,

                        Paul Manafort, Richard Gates, and Donald J. Trump;

                   e. Documents related to or discussing the U.S. House of Representatives Permanent

                        Select Committee on Intelligence, the Senate Select Committee on Intelligence, or

                        the Federal Bureau of Investigation;

                   f.   Records and information relating to the     e~mail   accounts

                        and                        ;

                   g. Records and information relating to the WhatsApp account associated with

                        telephone number                   ;

                   h. Records and information relating to the Signal account associated with telephone

                        number                ;



                                                       Page 1 of3
f   ..   I
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                     1.   Records and information relating to the Wickr account associated with telephone

                          number                   ;

                     J.   Any computers, media storage devices, tablets/iPads, cellular telephones,

                          smartphones, personal data assistant devices, or other electronic devices used to

                          commit the violations described above or to store records or documents described

                          above;

                     k. Records of personal and business activities relating to the operation and

                          ownership of the computer systems, such as telephone records, notes, notebooks,

                          diaries, and reference materials, in whatever form;

                     1.   Records pertaining to accounts held with Internet Service Providers or of Internet

                          use, in whatever form;

                2.        For any computer or storage medium whose seizure is otherwise authorized by

         this warrant, and any computer or storage medium that contains or in which is stored records or

         information that is otherwise called for by this warrant (hereinafter, "COMPUTER"):

                     a. evidence of who used, owned, or controlled the COMPUTER at the time the

                          things described in this wan'ant were created, edited, or deleted, such as logs,

                          registry entries, configuration files, saved usernames and passwords, documents,

                          browsing history, user profiles, email, email contacts, "chat," instant messaging

                          logs, photographs, and correspondence;

                     b. evidence of software that would allow others to control the COMPUTER, such as

                          viruses, Trojan horses, and other forms of malicious software, as well as evidence

                          of the presence or absence of security software designed to detect malicious

                          software;



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   c. evidence of the lack of such malicious software;

   d. evidence indicating how and when the computer was accessed or used to

        determine the chronological context of computer access, use, and events relating

        to crime under investigation and to the computer user;

   e. evidence indicating the computer user's state of mind as it relates to the crime

        under investigation;

   f.   evidence of the attachment to the COMPUTER of other storage devices or similar

        containers for electronic evidence;

   g. evidence of counter-forensic programs (and associated data) that are designed to

        eliminate data from the COMPUTER;

   h. evidence of the times the COMPUTER was used;

   I.   passwords, encryption keys, and other access devices that may be necessary to

        access the COMPUTER;

   J.   documentation and manuals that may be necessary to access the COMPUTER or

        to conduct a forensic examination of the COMPUTER;

   k. records of or information about Internet Protocol addresses used by the

        COMPUTER;

   1.   records of or information about the COMPUTER's Internet activity, including

        firewall logs, caches, browser history and cookies, "bookmarked" or "favorite"

        web pages, search terms that the user entered into any Internet search engine, and

        records of user-typed web addresses;

   m. contextual information necessary to understand the evidence described in this

        attachment.



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      Case 1:19-mc-00029-CRC Document 29-33 Filed 04/28/20 Page 12 of 53




                              AFFIDAVIT IN SUPPORT OF
                       AN APPLICATION FOR A SEARCH WARRANT

       I, Curtis A. Heide, being first duly sworn, hereby depose and state as follows:

                        INTRODUCTION AND AGENT BACKGROUND

        1.       I make this affidavit in support of an application for a search warrant for the

premises known and described as                      Fort Lauderdale, Florida,           described in

the following paragraphs and further in Attachment A.

       2.        I am a Special Agent (SA) of the Federal Bureau of Investigation (FBI) and have

been since 2006. In the course of my duties, I have been responsible for investigating federal

crimes and national security matters involving both counterintelligence and issues related to

cybersecurity.

       3.        I am currently involved in the investigation into Roger Jason Stone, Jr., ("Roger

Stone") and others known and unknown to the government, for the commission of unlawful

activities in the Southern District of Florida, and elsewhere, including, but not limited to: (i)

obstruction of proceeding, in violation of Title 18, United States Code, Section 1505; (ii) false

statements, in violation of Title 18, United States Code, Section 1001 and (iii) witness tampering,

in violation of Title 18, United States Code 1512(b)(1 ) (collectively the "Specified Federal

Offenses") .

       4.        I have personally participated in this investigation and am aware of the facts

contained herein based on my own investigation, as well as my review of documents, records,

and information provided to me by other law enforcement officers and technical experts.

       5.        This affidavit is intended to show merely that there is sufficient probable cause

for the requested warrant and does not set forth all of my knowledge about this matter. Unless

specifically indicated, all conversations and statements in this affidavit are related in substance


                                            Page 1 of 42
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and part. Where I assert that an event took place on a particular date, I am asserting it took place

on or about the date specified.

        6.     I make this affidavit    In   support of an application for a warrant to search the

premises located at                    , Fort Lauderdale, FL (the "Subject Premises," as is more

particularly described in Attachment A), in connection with the Specified Federal Offenses, for

the items enumerated in Attachment B, which constitute evidence, contraband, fruits, and

instrumentalities of the Specified Federal Offenses.

        7.     For the reasons set forth in this Affidavit, there is probable cause to believe that

one or more of the Specified Federal Offenses have been committed by Roger Stone and others

known and unknown to the government. Further, there is probable cause to believe the Subject

Premises have been used to facilitate the commission of one or more of the Specified Federal

Offenses. Moreover, there is probable cause to believe that evidence, contraband, fruits, and

instrumentalities of violations of the Specified Federal Offense may be present in the Subject

Premises.

                                       PROBABLE CAUSE

    A. Background on Relevant Individuals

        8.     Roger Stone is a political consultant who has worked for decades in U.S. politics

and on U.S. political campaigns. Stone was an official on the U.S. presidential campaign of

Donald 1. Trump ("Trump Campaign") until in or around August 2015, and subsequently

maintained regular contact with and publicly supported the Trump Campaign through the 2016

election.

        9.     Julian Assange is the founder and director of WikiLeaks, which is publicly

described as a non-profit organization that disseminates non-pUblic information and classified



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         media provided by anonymized sources. WikiLeaks has posted numerous documents stolen from

         the U.S. government. At all relevant times, Assange was located at the Ecuadorian Embassy in

         London, United Kingdom.

                10.      Jerome Corsi is a political commentator who worked with an online media

         publication during the 2016 U.S. presidential campaign.          As set forth below, Corsi spoke

         regularly with Stone throughout the campaign, including about the release of stolen documents

         by WikiLeaks.




                12.      Based on the investigation to date, Randy Credico was a radio host who has

         known Stone for more than a decade. In testimony before the U.S. House of Representatives

         Permanent Selection Committee on Intelligence (" HPSCI") on or about September 26, 2017,

         Stone described Credico (without naming him) as an "intermediary," "go-between," and "mutual

         friend" to Assange. In a follow-up letter to HPSCI dated October 13, 2017, Stone identified

         Credico by name and claimed Credico was the "gentleman who confirmed for Mr. Stone" that

         Assange, had '" [e ]mails related to Hillary Clinton which are pending publication. '"

                13 .     Richard Gates is a U.S. citizen who served for years as a political consultant and

         lobbyist along with Paul Manafort. From in or around June 2016 until November 2016, Gates

         served as the deputy campaign chairman of the Trump Campaign. On February 23, 2018, Gates

         pled guilty to one count of conspiracy against the United States and one count of making false

         statements to federal law enforcement officers. United States v. Gales, 1: 17-cr-20 1 (D .D.C.).




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           14.     Steve Bannon is a U.S. citizen who serves as a political consultant. Beginning in

    or around August 2016 and through the 2016 U.S. presidential election, Bannon served as the

    chief executive officer of the Trump Campaign.




       B. Hacking Activity During the 2016 Presidential Election

           16.     John Podesta is a U.S. citizen who served for years as a political consultant.

    During the 2016 U.S. presidential campaign, Podesta served as the campaign chairman of the

    Hillary Clinton presidential campaign ("Clinton Campaign"). On or about March 24, 2016,

    Podesta received a spearphishingl email designed to appear as a security notification (a partial

    copy of the email was recovered by the FBI from a subsequent release of stolen emails,

    described below). During an interview with the FBI in or around May 2018, Podesta indicated

    that after receiving the email, his assistant (who also had access to the account) clicked on a link

    within the email and entered the account password when prompted (believing this prompt to be

    part of a security protocol). Based on my training and experience, this activity appears to have

    been a successful spearphishing operation through which an actor would have gained access to

    Podesta's email account allowing the actor to steal emails and documents from that account.

           17.     The Democratic National Committee ("DNC") and Democratic Congressional

    Campaign Committee ("DCCC") are U.S. political committees focusing on U.S. federal



    I In my training and experience, spearphishing in this context refers to the fraudulent practice of
    sending an email that purports to be from a known or trusted sender in order to induce the
    targeted victim to respond in a desired manner, typically by clicking a malicious link or URL.

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,
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elections. Both the DNC and DCCC were involved in the 2016 U.S. federal elections, including

the 2016 U.S. presidential election.   According to DNC and DCCC individuals interviewed by

the Special Counsel's Office, in or around the spring of 2016, the DNC and DCCC became

aware that their computer systems had been compromised by unauthorized intrusions and hired

the cybersecurity company CrowdS trike to investigate the intrusions and remediate.

        IS.    On or about June 14,2016, CrowdStrike issued a public press release announcing

that the DNC's computer network had been compromised. In the public statement, CrowdStrike

indicated that it had identified "two sophisticated adversaries on the network," which it referred

to by the monikers COZY BEAR and FANCY BEAR. CrowdStrike stated that it had previously

seen these actors target other customers and that, based on their experience, "[bloth adversaries

engage in extensive political and economic espionage for the benefit of the government of the

Russian Federation and are believed to be closely linked to the Russian government's powerful

and highly capable intelligence services."

       19.     On or about July 13, 20 IS, a federal grand jury sitting in the District of Columbia

returned an indictment against eleven Russian nationals, charging them with partaking in a

conspiracy to hack into, among other things, the email account of Jolm Podesta, as well as the

DNC and DCCC computer networks. United States v. Viktor Borisovich Netyksho, 1: IS-cr-215

(D.D.C.). The indictment alleges that all of these individuals were military officers serving in

the Main Intelligence Directorate of the General Staff ("GRU"), the Russian Federation's

military intelligence agency.

    C. WikiLeaks' Release of Stolen Documents During the 2016 Presidential Campaign

       20.     As alleged in the Netyksho indictment, after successfully hacking the DNC and

DCCC networks, as well as Podesta's email account, GRU officers transmitted some of the



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f.   .         Case 1:19-mc-00029-CRC Document 29-33 Filed 04/28/20 Page 17 of 53




         stolen documents to WikiLeaks. GRU officers communicated with WikiLeaks members about

         the transfers using online personas created by the GRU, including "Guccifer 2.0" and

         "DCLeaks."     CGRU officers separately used these personas to release some of the stolen

         documents).

                21.     On or about July 22, 2016, WikiLeaks released tens of thousands of documents

         stolen from the DNC network.       These stolen documents included communications by senior

         DNC officials about campaign strategy, financial and fundraising data, and other documents

         related to the 2016 U.S. federal elections, including the 2016 U.S. presidential election.

                22.     Beginning in or around October 2016, WikiLeaks began to release tens of

         thousands of emails and documents stolen from Podesta's email account. Between on or about

         October 7, 2016 and November 7, 2016, WikiLeaks released approximately 33 tranches of

         documents that had been stolen from John Podesta, releasing a total of over 50,000 documents.

            D. Stone's Communications About WikiLeaks During the Campaign

                23.     In April 2018 interviews with the Special Counsel's Office, Gates stated that

         starting in or around May 2016, when Gates was a senior official on the Trump campaign, Stone

         informed members of the Trump Campaign that WikiLeaks had emails from then-candidate

         Hillary Clinton. According to Gates, after the July 22, 2016 release of stolen DNC emails by

         WikiLeaks, Gates observed a conversation between Manafort and Stone in which they discussed

         WikiLeaks and Stone's prediction of the release.

                24.     According to Gates, Manafort directed Gates to contact Stone about any

         additional releases and what other information WikiLeaks had regarding the Clinton Campaign.

         Gates contacted Stone, who made statements claiming that there would be potential future

         releases of damaging material by WikiLeaks. In a separate interview with the Special Counsel's



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.,   ~
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     Office in or around October 2018, Gates recalled that at one point during the campaign he was

     with then-candidate Trump in a car when the candidate had a telephone call with Stone; shortly

     after finishing the call with Stone, Gates recalled then-candidate Trump said more leaks were

     coming.

            25.      Emails recovered through a court-authorized search of Stone's email account

                                show that shortly after the July 22, 2016 release of stolen DNC emails

     by WikiLeaks, Stone corresponded with other associates about contacting WikiLeaks in order to

     obtain other emails damaging to the Clinton Campaign:

                  a. On or about July 25, 2016, Stone sent an email to Jerome Corsi with the subject

                     line, "Get to Assange." The body of the message read: "Get to Assange [a]t

                     Ecuadorian Embassy in London and get the pending WikiLeaks emails ... they

                     deal with Foundation, allegedly." On or about the same day, Corsi forwarded

                     Stone's email to         , who lived in the United Kingdom and was a supporter

                     of the Trump Campaign.

                  b. On or about July 31, 2016, Stone emailed Corsi with the subject line, "Call me

                     MON." The body of the email read in part that          " should see Assange."

                  c. On or about August 2, 2016, Corsi responded to Stone by email and wrote that he

                     was currently in Europe and planned to return in mid-August. Corsi stated, "Word


     2 A search of                             was authorized on or about September 11, 2017 by the
     U.s. District Court for the District of Columbia. Case No.1 :17-mj-661 (D.D.C. Sept. 11,2017).
     A second search of                             was authorized on or about August 3, 2018 by the
     U.S. District Court for the District of Columbia. Case No.1: 18-sc-2582 (D.D.C . Aug. 3,2018).
     On or about September 26, 2018, the government obtained and executed an order pursuant to 18
     U.S .c. § 2703(d) for records connected to                            . Case No.1 : 18-sc-2911
     (D.D.C. Sept. 26, 2018). Records provided in response by Microsoft Corporation confirmed that
     the account was still active and that the relevant emails described in this affidavit were not
     deleted from the account.


                                               Page 7 of 42
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                    is friend in embassy plans 2 more dumps. One shortly after I'm back. 2nd in Oct.

                    Impact planned to be very damaging." In a law enforcement interview, Corsi

                    stated that the phrase "friend in embassy" referred to Assange. Corsi added in the

                    same email, "Time to let more than Podesta to be exposed as in bed w enemy if

                    they are not ready to drop HRC. That appears to be the game hackers are now

                    about. Would not hurt to start suggesting HRC old, memory bad, has stroke ­

                    neither he nor she well. I expect that much of next dump focus, setting stage for

                    Foundation debacle."

           26.      According to recorded public statements recovered by the FBI, starting in early

    August 2016, after receiving this August 2, 2016 email from Corsi, Stone made repeated

    statements about information he claimed to have learned from Assange:

                 a. According to a public video posted to YouTube, on or about August 8, 2016,

                    Stone attended a public event in Broward County, Florida.      During the event,

                    Stone stated, "I actually have communicated with Assange.      I believe the next

                    tranche of his documents pertain to the Clinton Foundation, but there's no telling

                    what the October surprise may be."

                 b. According to a public video posted to YouTube, on or about August 12, 2016,

                    Stone was interviewed for a video segment on the show Info Wars, hosted by Alex

                    Jones. During the interview, Stone stated that he was "in communication with

                    Assange" but was "not at liberty to discuss what I have."

                 c. According to a public video posted to YouTube, on or about August 16, 2016,

                    Stone stated during another interview with Alex Jones that "it became known on

                    this program that I have had some back-channel communication with WikiLeaks



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                      and Assange." In a second interview on or about the same day with Dana Loesch

                      of the TheBlaze TV, Stone stated that he "communicated with Mr. Assange" and

                      that they had a "mutual acquaintance who is a fine gentleman."

                   d. According to a video posted to the public website of the TV station C-SPAN,

                      during a C-SP AN television interview on or about August 18, 2016, Stone stated

                      that he had communicated with Assange through an "intermediary, somebody

                      who is a mutual friend ."

                   e. In or around late 2018, Credico voluntarily produced to the FBI a copy of a radio

                      interview he did with Stone on or about August 23, 2016 during which the two

                      discussed Stone's prior claims to be in contact with Assange. At one point during

                      the interview, Credico asked Stone, "You ' ve been in touch indirectly with

                      Assange.   Can you give us any kind of insight? Is there an October surprise

                      happening?" Stone responded, "Well, first of all, I don't want to intimate in any

                      way that I control or have influence with Assange because I do not. ... We have

                      a mutual friend , somebody we both trust and therefore I am a recipient of pretty

                      good information."

            27.       In or around November 2018,                                              , Stone

     produced a series of text messages between Stone and Credico during the 2016 presidential

     campaign. 3     These text messages show that beginning on or about August 19, 2016, Stone

     exchanged written communications with Credico about what WikiLeaks and Assange planned to

     do.    Emails recovered through a court-authorized search of Stone' s email account



     3 As discussed below, Stone had previously released some of these text messages to members of
     the media, who had written about them and published them in part.


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                          show additional written communications between Stone and Credico

 about WikiLeaks in or around September 2016,

           a. On or about August 19, 2016, Credico sent a text message to Stone that read in

              part, "I'm going to have Julian Assange on my show next Thursday." On or

              about August 21, 2016, Credico sent another text message to Stone, writing in

              part, "I have Julian Assange on Thursday so I'm completely tied up on that day."

           b. On or about August 25, 2016, Assange was a guest on Credico's radio show for

              the first time. On or about August 26,2016, Credico sent a text message to Stone

              that stated, "Assange talk[ed] about you last night." Stone replied and asked what

              Assange said, to which Credico responded, "He didn't say anything bad we were

              talking about how the Press is trying to make it look like you and he are in

              cahoots."

           c. On or about August 27,2016, Credico sent text messages to Stone that said, "We

              are working on a Julian Assange radio show," and that he (Credico) was "in

              charge" of the project.   In a text message sent later that day, Credico added,

              "Julian Assange has kryptonite on Hillary."

           d. On or about September 18, 2016, Stone sent a text message to Credico that said,

              "I am e-mailing u a request to pass on to assange." Credico responded "Ok," and

              added in a later text message, "Just remember do not name me as your connection

              to Assange you had one before that you referred to."

           e. Later on or about September 18, 2016, Stone emailed Credico an article with

              allegations against then-candidate Clinton related to her service as Secretary of

              State.   Stone stated, "Please ask Assange for any State or HRC e-mail from



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             August 10 to August 30 -- particularly on August 20, 2011 that mention

             subject of the article] or            this               "

        f.   On or about September 19, 2016,                     texted Credico                            my

                                          "               responded, "1 did."         or about

             20,2016,              forwarded            request to a close          who was an attorney

             with the ability to contact                                                      Stone on the

             forwarded email.

        g. On or about                        30, 201       Credico sent Stone via text                      a

             photograph of Credico standing outside the                             Embassy      In   London

             where Assange was located.

        h. On or            October 1, 2016, which was a                          Credico sent             text

             messages       stated, "big news Wednesday ... now pretend u don't know me ...

                                   will die this           " In the         preceding these                the

                     had reported that Assange planned to                   a public announcement on or

             about                October 4,        16, which was reported to be the 1

             anniversary of the               of WikiLeaks.

        1.   On or about October 2,             16, Stone emailed Credico, with the subject line

                        and a link to an article at the website http://heatst.com/politics/october­

             surprise-thwarted-wikileaks-cancels-highly-anticipated-tuesday-announcement­

             due-to-security-concerns.                  responded to Stone, "head fake."

        J.   On or about Monday, October                 2016,            wrote Credico and    ac""""u,   "Did

             Assange back off." Credico initially responded, "I can't tal[k] about it." After

             further exchanges with Stone, Credico responded,                        think            on



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                       tomorrow." Credico added, "Off the Record Hillary and her people are doing a

                       full-court press they [sic] keep Assange from making the next dump ... That's all

                       I can tell you on this line ... Please leave my name out of it."

              28.      Emails and text messages recovered by the FBI show that, in or around October

       2016, Stone made statements about Assange's future releases that were similar to prior

       statements Credico made to him. For example:

                    a. In a court-authorized search of Stone's email account                            the

                       FBI recovered an email from Stone to             sent on or about October 3, 2016,

                       which stated in part, "Spoke to my friend in London last night. The payload is

                       still coming."

                    b. In a court-authorized search of                         , the FBI also recovered an

                       email exchange from on or about October 3, 2016 between Stone and a reporter

                       who had connections to Bannon. In the exchange, the reporter asked, "Assange ­

                       what's he got? Hope it's good." Stone responded, "It is. I'd tell Bannon but he

                       doesn't call me back."

                    c. On or about October 4, 2016, Assange held a press conference but did not release

                       any new materials pertaining to the Clinton Campaign.          In a court-authorized

                       search of                         , the FBI recovered an email exchange between

                       Stone and Steve Bannon on or about October 4, 2016 that occurred after the press

                       conference.      In the exchange, Bannon asked, "What was that this morning???,"

                       referring to Assange's press conference. Stone responded, "Fear. Serious security

       4 A search of                          was authorized on or about October 17, 2017 by the U.S.
       District Court for the District of Columbia. Case No. 1:17-mj-760 (D.D.C. Oct. 17,2017). A
       second search of                          was authorized on or about August 3, 2018 by the U.S.
       District Court for the District of Columbia. Case No. 1:18-sc-2583 (D.D.C. Aug. 3,2018).


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                concern. He thinks they are going to kill him and the London police are standing

                do[wn]. However - a load every week going forward."

             d. In a court-authorized search of Stone's iCloud account,S the FBI recovered text

                messages between Stone and           from on or about October 4, 2016. In one

                text message,         asked Stone if he had "hear[d] anymore from London."

                Stone replied, "Yes - want to talk on a secure line - got Whatsapp."      In an

                interview with the Special Counsel's Office in or around May 2018,

                confirmed that he and Stone spoke and that Stone had told him WikiLeaks had

                more material to release, and that the material was related to senior people

                associated with Clinton.

       29.      On or about October 7, 2016, WikiLeaks released the first set of emails stolen

from Podesta. According to text messages recovered from Stone's iCloud account, shortly after

the release, an associate of Bannon sent a text message to Stone that read, "well done."

Similarly, during an April 2018 interview, Gates recalled that after the October 7, 2016

WikiLeaks release, Stone said, "I told you this was coming."

    E. Stone's Communications with           the House Permanent Select Committee on
       Intelligence

       30.      On or about January 25, 2017, HPSCI publicly disclosed that it was investigating

allegations of Russian interference in the 2016 presidential election and possible links to

individuals associated with political campaigns. 6 During a public HPSCI hearing on or about


S A search of Stone's iCloud account was authorized on or about March 14, 2018 by the U.S.
District Court for the District of Columbia. Case No.1: 18-sc-662 (D.D.C. Mar. 14, 2018). The
records for Stone's iCloud account contained some, but not all, of Stone's communications from
the campaign period.

6On or about January 13,2017, the chairman and vice chairman of the Senate Select Committee
on Intelligence ("SSCI") announced the committee would conduct an inquiry that would

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          March 20, 2017, multiple HPSCI committee members indicated that Stone's pnor public

          statements about having communications with Assange (particularly those from August 2016)

      were of interest to the committee.

                 31.    In or around May 2017, HPSCI sent a letter requesting that Stone voluntarily

      appear before the committee and produce relevant documents to HPSCI (a copy of the HPSCI

          letter was recovered by the FBI from a court-authorized search of Stone's email account

                               ). The letter requested Stone produce:

                        Any documents, records, electronically stored information
                        including e-mail, communication, recordings, data and tangible
                        things (including, but not limited to, graphs, charts, photographs,
                        images and other documents) regardless of form, other than those
                        widely available (e.g., newspaper articles) that reasonably could
                        lead to the discovery of any facts within the investigation's
                        publicly-announced parameters.

                 32.    On or about May 22, 2017, counsel for Stone responded to HPSCI in writing and

      stated, "Mr. Stone has no documents, records, or electronically stored information, regardless of

      form, other than those widely available that reasonably could lead to the discovery of any facts

      within the investigation'S publicly-announced parameters." (A copy of the letter was recovered

          from a court-authorized search of Stone's email accountp                     ).

             F. Stone's Testimony Before HPSCI

                 33.    On or about September 26, 2017, Stone provided HPSCI with an "opening

      statement" that his counsel requested be included as part of the record of proceedings before

      HPSCI. In his opening statement, which HPSCI provided to the Department of Justice,7 Stone



      investigate, among other things, any intelligence regarding links between Russia and individuals
      associated with political campaigns, as well as Russian cyber activity and other "active
      measures" directed against the United States in connection wi ththe 2016 election.
      7 On or about December 14, 2018, the U.S. Department of Justice requested the transcript of
      Stone's interview with HPSCI, as well as any written submissions and/or correspondence from

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          stated, "These hearings are largely based on a yet unproven allegation that the Russian state is

          responsible for the hacking of the DNC and John Podesta and the transfer of that information to

          WikiLeaks."

                 34.     Also on or about September 26, 2017, Stone provided testimony           In   a closed

          session before HPSCI, at the U.S. Capitol in Washington, D.C.             Stone's testimony was

          transcribed, and a copy of the transcript was obtained by the Department of Justice from HPSCI

          in or around December 2018. Stone appeared before HPSCI under oath and affirmed for the

          record that he would tell the truth. At the beginning of the hearing, Stone was admonished that

          "it is unlawful to deliberately provide false information to Members of Congress or staff' and

          that "providing false information to this committee or concealing material information from this

          committee is a crime punishable by law."

                       Stone's Testimony About Documents He Possessed Related to WikiLeaks

                 35.     During his HPSCI testimony, Stone was asked about HPSCI's May 2017

          document request and whether Stone had any documents or written communications that

          discussed Julian Assange, Russian interference, or other relevant documents:

                         Q:     The committee wrote to you on May 9th requesting no later
                                than May 22 any documents, records, electronically stored
                                information, including email communication, recordings,
                                data, and other tangible things relevant to our investigation.
                                You wrote back through counsel that you had no
                                documents, records, or electronically stored information
                                regardless of form responsive to our requests. Was that a
                                false statement?

                         A:     That is not a false statement. That's what -- I believe that
                                to be true.


          Stone and/or his counsel before or after the interview. On or about December 20, 2018, HPSCI
          provided the U.S. Department of Justice a copy of the transcript of the September 26, 2017
          interview of Roger Stone, a copy of Stone's written opening statement, and various
          correspondence from Stone's counsel to members of HPSCI.

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                      [... ]

                      Q:         So you       no       to anyone             the
                                     hacked documents or your conversations with the
                                 Guccifer 2[.0] or any discussions you have      with third
                                        about Julian          You       no emails.no
                                 no documents whatsoever, any kind of that nature?

                      A:         That is correct. Not to my knowledge. I think we met,
                                 again, the precise criteria of your request, and we complied.
                                         if you have a more specific            I'm happy to
                                 back and look ....

                      Q:         I just want to ask you under oath-

                      A:         We did an                               with     direction of
                                 my attorneys,                   nothing that met      criteria
                                 that you asked for.

                      Q:         I just want to be         because you are under oath, where
                                 your letter was not under       that you have no
                                 no          no texts, no tweets that      to Julian
                                 or Guccifer 2[.0] or Paul Manafort or the allegations
                                 concerning Russian connections with the campaign. You
                                 have had no discussions in any written form. You've
                                 written no documents yourself.

                                 In connection with Russian collusion, consistent with your
                                 exact and precise request,

             36.      In fact,       as described                          sent and             numerous          and

      text messages during the 2016 campaign              In           he               WikiLeaks, Assange, and

                   possession of 11"',,,,,,,,, emails. Court-authorized                 of              email accounts

      (including                                                                 ) and his iCloud account show

      that, at the time of his testimony, Stone was still in     vv,",,,,,-,,,        many      these         and text

                   at the           he              on or about September                    2017. 8    These written



      8
            warrant for Stone's email account                            was obtained on or about
      September 11, 17 and executed shortly               Records provided in or around September
        18 in response to a court order issued pursuant to 18         § 2703(d) confinned that the
      account was        and    emails     question were not        from     account. The warrant

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            communications included (a) Stone's email to Corsi on or about July 25, 2016, that read in part,

            "Get to Assange [a]t Ecuadorian Embassy in London and get the pending WikiLeaks emails ...

            they deal with Foundation, allegedly."; (b) Stone's email to Corsi on or about July 31, 2016 that

            Malloch "should see Assange"; (c) Corsi's email to Stone on or about August 2, 2016 that stated

            in part: "Word is friend in embassy plans 2 more dumps. One shortly after I'm back. 2nd in

            Oct. Impact planned to be very damaging."; (d) dozens of text messages and emails between

            Stone and Credico, beginning on or about August 19, 2016 and continuing through duration of

            the election, in which they discussed WikiLeaks and Assange; (e) Stone's email to          on or

            about October 3, 2016 that read in part "Spoke to my friend in London last night. The payload is

            still coming."; and (f) Stone's email to Bannon on or about October 4, 2016 that claimed

            WikiLeaks would release "a load every week going forward."

                              Stone's Testimony About His Early August 2016 Statements

                   37.    During his HPSCI testimony on or about September 26, 2017, Stone was asked to

            explain his statements in early August 2016 about being in contact with Assange. Stone was

            specifically asked about his statement on or about August 8, 2016 that "I've actually

            communicated with Assange," as well as his statement on or about August 12, 2016 that he was

            "in communication with Assange" but was "not at liberty to discuss what I have."

                   38.    Stone testified that these public references to having a means of contacting

            WikiLeaks referred exclusively to his contact with a journalist, who Stone described as a "go-

            between, as an intermediary, as a mutual friend" of Assange. Stone declined to tell HPSCI the

            name of this "intermediary," but he provided a description in his testimony that was largely

            for Stone's email account                       was obtained on or about October 17,2017 and
            executed shortly thereafter. The warrant for Stone's iCloud account (which contained the text
            messages described above) was obtained on or about March 14, 2018 and executed shortly
            thereafter.


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       consistent with Credico. (On or about October I           2017, Stone caused a letter to be               to

       HPSCI that identified Credico by name as the "gentleman who confirmed for Mr.                           that

                   had '" [e] mails         to Hillary Clinton which are pending publication. ''').

              39.        In fact, documents recovered during the investigation (including those obtained

       via search warrant returns                                             show that Stone did not

       communicating with Credico about .~~.~u ..,~ or WikiLeaks until on or about August 19, 2016 9

       approximately             days        Stone first claimed on or about August 8, 2016 to "actually have

       communicated with                         a week after his                     6 statements of           "in

       communication            Assange" and "not at liberty to discuss what I          "

              40.        When interviewed by the FBI, Credico stated that the                  time he ever spoke

       with Assange was on or about                       2016, when             interviewed           10   Credico

       also provided the FBI with partially redacted emails that                            were between he

       another member          WikiLeaks from on or about August 25,                   which the two discuss the

       technical               for the                     that day.    During                    Credico

       biographical information about himself, apparently as a means

              41.        The FBI         not identified                                             Credico

               2016 in which Stone                               to contact              or WikiLeaks.       When

       interviewed by the             Credico claimed he was never                     Stone in August        16 to

       contact WikiLeaks.

       9
           described        on or about August 19,                                   Stone by text message that
       Credico intended to interview Assange the                                  or about August 25, 2016,
       Credico interviewed Julian             the first time,            on or about                1
                        "Assange has kryptonite on Hillary."

       10 Credico was first interviewed by            in or around August              18. He has subsequently
       participated in multiple voluntary interviews.



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         42.      In                      and    as     described    above,   the                    identified   written

 communications prior to                      8, 2016      which Stone               Corsi-not Credico--to contact

 Assange. On or about July                                            Stone wrote to Corsi,             to Assange

 Ecuadorian                    In     London               the            WikiLeaks                                  with

 Foundation, allegedly." Similarly, on or about August 2, 2016,                                               co--sem an

 email to             in which               wrote that "[w lord is friend in embassy plans 2 more dumps,"

 including one in October.                       communications                    days before                first public

 statement on or about August                 2016 claiming to        in communication with                    However,

 at no time did              identify            to HPSCI as another individual Stone contacted to serve as a

 "go-between," "intermediary," or other source for information                               WikiLeaks.        Similarly,

 Stone also never disclosed                  written communications with Corsi to                      when answering

 HPSCI's                      about the August            2016 and August 12, 2016 statements about

 communication with



         43.      During his HPSCI testimony, Stone was asked, "Did you ask [the intennediaryJ to

 communicate anything                   to                 Stone                    did not." Stone was then asked,

 "Did you         [the intermediary] to do                         on your own behalf?" Stone responded,              did

 not."

         44.      In fact,                   on or about                 18, 201     Stone directed Credico to

 on a            to    .~~,~.. ,.,~   for documents that             believed would be                   to       Clinton



               a. According to text                                                                      , on or about

                  September 18, 2016, Stone sent a text                    v"''''''''~v to Credico       said, "I am e-



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                    mailing u a request to pass on to Assange." On or about the same day, Stone

                    emailed Credico an article with allegations against then-candidate Clinton related

                    to her service as Secretary of State. Stone added, "Please ask Assange for any

                    State or HRC e-mail from August 10 to August 30 - particularly on August 20,

                    2011 that mention [the subject of the article] or confinn this narrative." (A copy

                    of this email was obtained through a search of Stone's email account

                                                ).

                 b. According to text messages                                              , on or about

                    September 19,2016, Stone texted Credico again, writing "Pass my message ... to

                    Assange."        Credico responded, "I did."      An email obtained from the account

                                                 shows that on or about September 20, 2016, Credico

                    forwarded the request to an attorney who had the ability to contact Assange;

                    Credico blind copied Stone on the same email.

                     Stone's Testimonv About Written Communications with Credico

           45.      During     his    HPSCI    testimony,     Stone   was   asked   repeatedly   about   his

    communications with the person he identified as his intennediary. Stone stated that he had never

    communicated with his intennediary in writing in any way. During one exchange, Stone claimed

    only to have spoken with the intennediary telephonically:

                    Q:       [H]ow did you communicate the intennediary?

                    A:       Over the phone.

                    Q:       And did you have any other means of communicating with
                             the intennediary?

                    A:       No.

                    Q:       No text messages, no - none of the list, right?



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               A:      No.

 Later during his testimony, Stone again denied ever communicating with his intermediary in

 writing:

               Q:      So you never communicated with your intermediary         In
                       writing in any way?

               A:      No.

               Q:      Never emailed him or texted him?

               A:      He's not an email guy.

               Q:      So all your conversations with him were in person or over
                       the phone.

               A:      Correct.

         46.   As described above, Stone and Credico (whom Stone identified as his

 intermediary) engaged in frequent written communication by email and text message. Beginning

 on or about August 19,2016, and continuing through the 2016 U.S. presidential election, Stone

 and Credico engaged in dozens of communications by email or text message in which they

 discussed WikiLeaks and the possible release of stolen documents that would be damaging to the

 Clinton Campaign.

         47.   Written communications between Stone and Credico continued up until Stone's

 HPSCI testimony and afterwards.    For example, on or about September 26, 2017-the day that

 Stone testified before HPSCI and denied having ever sent or received emails or text messages

 from his identified intermediary, Stone and Credico exchanged over thirty text messages.

         48.   Certain of the electronic messages between Stone and Credico (which Stone

 denied ever taking place or possessing) would have been material to HPSCI, including Stone's

 messages in or around September 2016 directing Credico to pass a request for documents to

 Assange, and other relevant written communications with Credico. For example, on or about


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January 6, 2017, Credico sent Stone an email, which Stone had in his possession at the time of

his HPSCI testimony, that had the subject line "Back channel bs." In the email, Credico wrote,

"Well I have put together timelines[] and you [] said you have a back-channel way back a month

before I had Assange on my show ... I have never had a conversation with Julian Assange other

than my radio show ... I have pieced it all together ... so you may as well tell the truth that you

had no back-channel or there's the guy you were talking about early August." (A copy of this

email was obtained through a search of Stone's email account                            ).

               Stone's Testimony About Communications with the Trump Campaign

       49.      During his HPSCI testimony, Stone was asked, "[d]id you discuss your

conversations with the intermediary with anyone involved in the Trump campaign?"             Stone

answered, "I did not." As described above, Stone spoke to multiple individuals involved in the

Trump campaign about what he claimed to have learned from his intermediary to Assange,

including the following:

             a. As described above, Gates confirmed to investigators that Stone spoke with senior

                Trump Campaign officials to inform them about materials possessed by Assange

                and the timing of future releases.

             b. According to text messages                                         , on or about

                October 3,2016, Stone wrote to          "Spoke to my friend in London last night.

                The payload is still coming."

             c. As described above, on or about October 4, 2016, after receiving information

                from Credico about the delay in WikiLeaks's release of stolen materials, Stone

                emailed Bannon that Assange had a "[s]erious security concern" but would

                release "a load every week going forward."



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        G. Stone's Attempts to Influence Credico Regarding HPSCI and the FBI

              50.      According to an email recovered through a court-authorized search of Stone's

     email accountp                          . on or about October 19, 2017, Stone sent Credico an

     excerpt of his October 13, 2017 letter to HPSCI in which Stone claimed Credico was his

     "intermediary" to Assange. As described below, Credico repeatedly told Stone that his letter was

     false and said he should correct his statement to HPSCI, but Stone did not do so. Stone then

     engaged in a prolonged effort to prevent Credico from contradicting Stone's false statements to

     HPSCI.

              51.      In or around November 2017, Credico received a request from HPSCI to testify

     voluntarily before the committee. After being contacted by HPSCI, Credico spoke and texted

     repeatedly with Stone.




                    a. On or about November 19, 2017, Credico texted Stone that his lawyer wanted to

                       see him. Stone responded, '''Stonewall it. Plead the fifth. Anything to save the

                       plan' ... Richard Nixon." (A copy of these text messages was recovered through

                       a court-authorized search of Stone's iCloud account). On or about November 20,

                       2017, Credico informed HPSCI that he declined HPSCI's request for a voluntary

                       interview.

                    b. On or about November 21, 2017, Credico texted Stone, "I was told that the house

                       committee lawyer told my lawyer that I will be getting a subpoena."       Stone

                       responded, "That was the point at which your lawyers should have told them you



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               would assert your 5th Amendment rights if compelled to appear." (A copy of

               these text messages was recovered through a court-authorized search of Stone's

               iCloud account).

           c. On or about November 28, 2017, Credico received a subpoena compelling his

               testimony before HPSCI. Credico informed Stone of the subpoena.

           d. According      to      emails   recovered     from     Stone's   email    account

                                      , on or about November 30, 2017, Stone asked Corsi to

               write publicly about Credico. Corsi responded, "Are you sure you want to make

               something out of this now? Why not wait to see what [Credico] does? You may

               be defending yourself too much - raising new questions that will fuel new

               inquiries. This may be a time to say less, not more." Stone responded by telling

               Corsi that Credico "will take the 5th-but let's hold a day."

           e. According to text messages recovered from Stone' s iCloud account, on multiple

               occasions, starting on or about November 17, 2017, Stone and Credico discussed

               Frank Pentangeli. Frank Pentangeli is a character in the film The Godfather: Part

               II, who falsely claims not to know critical information before a congressional

               committee that he does in fact know. On or about December 1,2017, Stone told

               Credico in a text message to "Start practicing your Pentagele." When interviewed

               by the FBI, Credico confirmed that he understood Stone's references to Frank

               Pentangeli to be Stone's way of suggesting Credico withhold relevant information

               from investigators.

           f   On or about December 1, 2017, Stone texted Credico, "And if you turned over

               anything to the FBI you're a fool." Later that day, Credico texted Stone, "You



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                      need to amend your testimony before I testify on the 15th." Stone responded, "If

                      you testify you're a fool. Because of tromp I could never get away with a certain

                      [sic] my Fifth Amendment rights but you can. I guarantee you you are the one

                      who gets indicted for perjury if you're stupid enough to testify." (A copy of these

                      text messages was recovered through a court-authorized search of Stone's iCloud

                      account).

             52.      On or about December 12, 2017, Credico informed HPSCI that he intended to

      assert his Fifth Amendment privilege against self-incrimination if required to appear by

      subpoena. According to Credico, he invoked his Fifth Amendment privilege in part to avoid

      providing evidence that would show Stone's previous testimony to Congress was false.

             53.      Following Credico's invocation of his Fifth Amendment privilege not to testify

      before HPSCI, Stone and Credico continued to have discussions about the various investigations

      into Russian interference in the 2016 election and what information Credico would provide to

      investigators. During these conversations, Stone repeatedly made aggressive statements intended

      to prevent Credico from cooperating with the investigations. For example:

                   a. On or about December 24, 2017, Credico texted Stone, "I met assange for f[i]rst

                      time this yea[ r] sept 7 ... docs prove that ... You should be honest w fbi ...

                      there was no back channel ... be honest." Stone replied approximately two

                      minutes later, "I'm not talking to the FBI and if your smart you won't either." (A

                      copy of these text messages was recovered through a court-authorized search of

                      Stone's iCloud account).

                   b. On or about April 9, 2018, Stone wrote in an email to Credico, "You are a rat. A

                      stoolie. You backstab your friends-run your mouth my lawyers are dying Rip



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                you to shreds."    Stone also said he would "take that dog away from you,"

                referring to Credico's dog. On or about the same day, Stone wrote to Credico, "I

                am so ready. Let's get it on. Prepare to die [expletive]." (A copy of this email

                exchange was recovered through a court-authorized search of Stone's email

                account                        ).

             c. On or about May 21, 2018, Credico wrote in an email to Stone, "You should have

                just been honest with the house Intel committee ... you've opened yourself up to

                perjury charges like an idiot." Stone responded, "You are so full of [expletive].

                You got nothing. Keep running your mouth and I'll file a bar complaint against

                your friend [the attorney who had the ability to contact Assange]."   (A copy of

                this email exchange was recovered through a court-authorized search of Stone's

                email accountp                       ). Credico believed Stone knew that Credico

                was sensitive to having this friend's name publicly disclosed.

   H. Missing Electronic Communications and Stone's Use of Encrypted Communications

       54.      As described above, the government has recovered the content of many of Stone's

electronic communications from summer and fall of 2016 (during the period of the U.S.

presidential election) and afterward (during the period of pending congressional investigations

into Russian interference in the U.S. election).      However, the government is aware of the

existence of numerous other relevant electronic communications, the content of which it has not

yet been able to recover.

       55.      As described above, during his HPSCI testimony, Stone falsely denied having

emailed or exchanged text messages with his "intermediary" (later identified by Stone as Randy

Credico).    In fact, emails and text messages recovered in this investigation show the two



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    communicated frequently by email and text messages; court-authorized searches of Stone's

    email and iCloud accounts confirm that Stone still had those communications at the time he

    testified in or around September 2017.       In numerous communications, Stone and Credico

    discussed Julian Assange and WikiLeaks, as well as Stone's suggestion that Credico was his

    intermediary to Assange. These communications appear relevant and responsive to HPSCI's

    inquiry, but Stone never disclosed them.

           56.    In addition to these emails and text messages in the FBI's possession, the FBI has

    reviewed telephone billing records for Stone's cellular telephone for the years 2016 and 2017,

    and they show text message communications whose content that the government to date has not

    been able to obtain. For example, these records indicate that Stone and Credico alone exchanged

    thousands of text messages (including over 1,500 text messages between the period November

    2016 and December 2017) the substance of which the government to date has not recovered or

    reviewed. The government has only recently obtained text messages between Stone and Credico

    during some period of the campaign in 2016 from Stone's subpoena production, issued after

    media reports in November 2018 stated that Stone's attorneys were able to extract text messages

    between Stone and Credico from a phone Stone stopped using in 2016. But the government does

    not have, for the same time period, many of Stone's other text messages. The government seeks

    these text messages believing they may show additional evidence of (1) the falsity of Stone's

    HPSCI testimony concerning his communications with his "intermediary" and (2) efforts to

    corruptly persuade Credico not to cooperate with pending investigations.

           57.    Additionally, the FBI has interviewed multiple associates of Stone, who

    confirmed that Stone has used encrypted applications to communicate with others. Similarly,

    records obtained in this investigation indicate Stone uses mUltiple applications designed for



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encrypted communication, including (a) WhatsApp, II (b) Signal,12 (c) Wickr,13 and (d)
              14
ProtonMail.        To date, the FBI has not obtained any of Stone's communications conducted

through these applications.

           a. According to records from Stone's iCloud account, a copy of the WhatsApp

                   application was downloaded to an iPhone registered to Stone on or about October

                   5,2016. As described above, on or about October 4,2016, Stone suggested in an

                   email to              that they "talk on a secure line" and proposed using

                   WhatsApp.

           b. According to records from Stone's iCloud account, a copy of the Signal

                   application was downloaded to an iPhone registered to Stone on or about August

                   18, 2016. Additionally, text messages recovered from Stone's iCloud account

II According to open sources, WhatsApp is an application that allows the user to send text
messages, make voice calls, and transmit documents. WhatsApp uses end-to-end encryption and
stores its messages separately from those text messages used on a mobile device's default
message application.

12 According to open sources, Signal is an encrypted communications application allowing the
user to send one-to-one and group messages, which can include files, voice notes, images and
videos, and make one-to-one voice and video calls. Signal uses standard cellular mobile
numbers as identifiers, and uses end-to-end encryption to secure all communications to other
Signal users. Signal also allows users to set timers to messages, after which the messages will be
deleted from both the sender's and the receivers' devices.

13 According to open sources, Wickr is an instant messaging application that allows users to
exchange end-to-end encrypted and content-expiring messages, including photos, videos, and file
attachments and place end-to-end encrypted video conference calls. Like Signal, Wickr allows
users to set an expiration time for their encrypted communications. In addition to encrypting
user data and conversations, Wickr claims that its application strips metadata from all content
transmitted through the network.

14 According to open sources, ProtonMail is an end-to-end encrypted email service that uses
client-side encryption to protect email contents and user data before they are sent to ProtonMail
servers. According to its website, ProtonMail is run by Proton Technologies AG, a company
based in the Canton of Geneva, and its servers are located at two locations in Switzerland,
outside of US and EU jurisdiction.


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                  revealed that on or about November 15, 2016, Stone sent an attorney with the

                  ability to contact Julian Assange a link to download the Signal application. ls

                  Approximately fifteen minutes           sending the link, Stone texted the attorney,

                  "I'm on signal just dial my number."         attorney responded, "I'll call you."

               c. According to records             Stone's iCloud account, a        of the ProtonMail

                  application was downloaded to an iPad registered to Stone on or about August 18,

                  2016.

               d. According to              from             iCloud account, a copy          the Wickr

                  application was downloaded to an iPhone registered to Stone on or about August

                  5,   17.

         58.      Based on my training and                 electronic communications          encrypted

applications such as WhatsApp, Signal, ProtonMail, and Wickr are sometimes maintained on the

device used to               and receive            communications.       Communications from those

applications can be obtained by law enforcement by                  the               manually or     a

data extraction device (such as Cellebrite).               of the physical device can reveal messages,

including text                and messages exchanged over WhatsApp, Signal, ProtonMail, and

Wickr,     that have not           backed          to cloud accounts (such as an iCloud account).

Additionally, review of the device and the downloaded application can reveal other evidence

encrypted communications, such as call logs and contact lists.

                             continues to seek evidence of Stone's communications and contacts

during         period of the 2016 U.S. presidential election          through                  The


15
       attorney was a close friend of Credico's and was the same friend Credico emailed on or
about September      2016 to             Stone's request to            emails connected to the
           against then-candidate Clinton        to                       of


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believes           communications may contain evidence of additional communications concerning

             WikiLeaks, and the                      of stolen documents damaging to the Clinton

Such communications could constitute additional evidence                                          Stone's              to obstruct

HPSCI's                       by showing additional contacts and                                             about              and

               that Stone failed to

    I. Other Relevant

         60.        On or about May 8, 2018, a law enforcement interview

            was conducted.                       was an employee                    Stone's         approximately June 2016

through approximately         .lJ"-"v'-'H         2016      resided in Stone's previous                      York apartment for

a          of time.            provided information technology support for Stone but was not formally

trained to          so.            was aware that Stone communicated                                    Trump             the 2016

presidential campaign, and afterward, both in person                                          by telephone.               provided

information about a                         at           Tower   UI..,'VVI..,,,,,   Trump          Stone                 time

worked for                to which                carried a "file booklet" with him.                            told       the file

booklet was important and that no one should                                it.                  said        maintained         file

booklet in        closet.

         61.              or about                        2018, law                              conducted an interview          an

individual ("Person              who                      had a                           relationship with a reporter who

provided     IJ""'<'A~   2 with information about Stone.                             reporter            to Person 2 that in or

around January and February 2016, Stone and Trump were                                        constant communication            that

Stone                                   notes of          conversations. Stone's                         m             notes was to

later provide a             mortem of what went                      "




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      J. The Subject Premises

         62.       Your affiant is aware through the investigation that Stone maintains the Subject

Premises as his primary residence. 16 During physical surveillance of the Subject Premises on or

about January 14, 2019, the FBI observed Stone at the residence.

         63.       Records produced by Comcast on August 23, 2018

              show that the subscriber of high-speed internet service and digital voice services at the

Subject Premises was Nydia Stone. According to public reporting and law enforcement

interviews, Nydia Stone is the spouse of Stone.

         64.      According to emails obtained through a court-authorized search of Stone's email

account                            , Stone sent an email on or about January 2, 2018 requesting the

recipient "update your files with my new address"; Stone identified the Subject Premises as his

new address. Additionally, in an email dated on or about August 2, 2018, Stone provided the

Subject Premises as his shipping address.

      K. Computer Devices at the Subject Residence

         65.      Based on law enforcement interviews, your affiant is aware that Stone has used

and    uses     cellular   telephones,   desktop,   and   laptop   computers   to   conduct electronic

communications. Stone also configures his computers to create regulars backups of his

computers and maintains one of these devices at the Subject Premises, which preserves

documents and communications.



16Stone also maintains a residence at                                                 New York, New
York.


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       66.      In or around May 2018, the FBI interviewed an individual ("Person 2") who

provided infonnation technology services to Stone. According to Person 2, Stone maintains at

least one Apple computer in each of his residences and also had an Apple MacBook Pro laptop

computer at one point in time.                                        Person 2 revealed billing

receipts and invoices issued to Nydia Bertran-Stone for infonnation technology ("IT") services

dated January 2015 through May 2018. The records also show that Nydia Bertran-Stone was

billed for IT services in connection with three different Apple computers.      Specifically, the

billing receipts show services for (1) an Apple iMac (serial number D25SY03RGQ 17)

configured with the name "Stone-Roger-iMac-FL"; (2) a second Apple iMac (serial number

D25TC077GQ 17) configured with the name "Stone-Roger-iMac-NYC";               and (3) an Apple

MacBookPro 10 (serial number C02KL05EFFT4) configured with the name "Stone-Nydia-

MBPR."       According to publicly available infonnation, the iMac is one of Apple's desktop

models (i.e., a computer designed to be stationary). The naming convention of the computer

"Stone-Roger-iMac-FL" therefore suggests it is a stationary computer used by Stone and located

at the Subject Premises. I7 According to the billing records, the computer was serviced on or

about May 26,2018.

       67.      Person 2 also told law enforcement that Stone used the Apple Time Machine

("Time Machine") application to facilitate backups of his computers and that he believed Stone

used Time Machine on computers in his residences.             According to publicly available

information, Time Machine is the built-in backup feature of Apple computers and can create

copies of files on a computer, including applications, music, photos, email, documents, and

system files. A Time Machine backup allows users to restore files from a specific point in time

17 According to multiple associates of Stone interviewed by the FBI, Stone maintains an office in
the Subject Residence and conducts most of his work from the office when he is in Florida.


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if the original files are ever deleted, or if the hard drive is erased or replaced. In order to create

backups with Time Machine, a user connects an external storage device to the computer and

selects that external storage device as the backup disk.18

       68.       Records produced by AT&T                                                 show that,

since 2016, Stone has had multiple Apple iPhone devices registered to his personal cellular

telephone number (ending in            ). According to AT&T, between approximately January 1,

2015 and November 14, 2016, Stone's telephone number was registered to an Apple iPhone

model 5s ("iPhone 5s") (IMSI 310410657061814). On or about November 14,2016, Stone's

cellular telephone number was transferred to an Apple iPhone model 7 ("iPhone 7") (IMSI

310410930460769). On or about September 28, 2018, Stone's cellular telephone number was

transferred to an Apple iPhone model XS ("iPhone XS") (IMSI 310410155529814).

       69.       Records produced by Uber Teclmologies, Inc.,

show that the account associated with Stone's telephone number and email address has the Uber

application on multiple devices, including a device identified as iPhonell ,2, UDID - 668EDC66­

29BF-4AD2-8BCA-D974C7906597. Publicly available information indicates that the identifier

"iPhone 11,2" correlates to an Apple iPhone model XS. Additionally, the subpoena returns

identified   a   device   identified   as   iPhone9,4,   UDID         7161 CF59-6Fl 0-41 C8-984B­

DE0840 1EOA 74.       Publicly available information indicates that the identifier iPhone9,4

correlates to an Apple iPhone model iPhone 7 Plus.

       70.       Records obtained from a court-authorized pen register/trap & trace ("PRTT")

monitoring of Stone's personal cellular telephone number                  19 shows recent activity

18 When the external is plugged in, the Time Machine will automatically make hourly backups
for the past 24 hours, daily backups for the past month, and weekly backups for all previous
months. The oldest backups are deleted when the external storage device selected as the backup
disk is full. The external device can be as small as a USB thumb drive.


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indicating Stone continues to use the number and its associated device.        For example, these

records show that between January 1, 2019 and January 10, 2019, telephone number                was

used to make or receive over 150 telephone calls and send or receive over 750 text messages.

Likewise, a court-authorized PRTT of Stone's WhatsApp account (which is registered to Stone's

telephone number           20 showed the WhatsApp account was used to send or receive

approximately 13 WhatsApp messages and two WhatsApp voice calls between on or about

January 1,2019 and January 10,2019.

       71.     Statements attributed to Stone in recent media articles also indicate that Stone

retains computer devices that he no longer uses and keeps relevant electronic communications on

those devices. In or around November 2018, media reports began to publish excerpts of text

messages between Stone and Randy Credico that occurred during the 2016 U.S. election (copies

of these text messages subsequently were obtained from Stone                                     21

According to these news articles, Stone released these messages to the media outlets, which

Stone claimed were extracted by his lawyers from "a cell phone he stopped using in 2016."

Based on these statements, your affiant believes the cellular telephone referenced in the article to

be the iPhone 5s documented in the aforementioned AT&T records (which records indicate he




19 Installation and use of PRTT devices for     was authorized by the U.S. District Court for
the District of Columbia on or about November 28, 2018. Case No.1: 18-pr-l72 (D.D.C. Nov.
28,2018).

20 Installation and use of PRTT devices for Stone's WhatsApp account was authorized by the
U.S. District Court for the District of Columbia on or about December 11, 2018. Case No.1: 18­
pr-250 (D.D.C. Dec. 11,2018).

21 See, e.g., "Bombshell Text Messages Support Roger Stone's Claims About WikiLeaks
Backchannel,"         Daily         Caller,      Nov.       14,      2018,      available at
https:lldailycaller.coml20 18/11 I 14/roger-stone-wikileaks-randy-credico-mueller.


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stopped using on or about November 14, 2016)?2 Further, your affiant believes Stone maintains

other devices he is no longer actively using.

              COMPUTERS, ELECTRONIC STORAGE, AND FORENSIC ANALYSIS

        72.      As described above and in Attachment B, this application seeks permission to

search for records that might be found in the Subject Premises, in whatever form they are found.

One form in which the records might be found is data stored on a computer device's hard drive

or other storage media. Thus, the warrant applied for would authorize the seizure of electronic

storage media or, potentially, the copying of electronically stored information, all under Rule

41 (e )(2)(B).

        73.      Probable cause. I submit that if a computer or storage medium is found on the

Subject Premises, there is probable cause to believe those records will be stored on that computer

or storage medium, for at least the following reasons:

              a. Based on my knowledge, training, and experience, I know that computer files or

                 remnants of such files can be recovered months or even years after they have been

                 downloaded onto a storage medium, deleted, or viewed via the Internet.

                 Electronic files downloaded to a storage medium can be stored for years at little

                 or no cost. Even when files have been deleted, they can be recovered months or

                 years later using forensic tools. This is so because when a person "deletes" a file

                 on a computer, the data contained in the file does not actually disappear; rather,

                 that data remains on the storage medium until it is overwritten by new data.


22                                         Stone produced some text messages between he and
Credico; the latest-in-time text message produced by Stone occurred on or about November 14,
2016. The govenunent believes copies of later-in-time text messages from late 2016 and early
2017 could be located on another device, such as the iPhone 7 described above, or on backup
storage media.


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             b. Therefore, deleted files, or remnants of deleted files, may reside in free space or

                  slack space-that is, in space on the storage medium that is not currently being

                  used by an active file-for long periods of time before they are overwritten. In

                  addition, a computer's operating system may also keep a record of deleted data in

                  a "swap" or "recovery" file.

             c.   Wholly apart from user-generated files, computer storage media-in particular,

                  computers' internal hard drives-contain electronic evidence of how a computer

                  has been used, what it has been used for, and who has used it. To give a few

                  examples, this forensic evidence can take the form of operating system

                  configurations, artifacts from operating system or application operation, file

                  system data structures, and virtual memory "swap" or paging files.        Computer

                  users typically do not erase or delete this evidence, because special software is

                  typically required for that task. However, it is technically possible to delete this

                  information.

             d. Similarly, files that have been viewed via the Internet are sometimes

                  automatically downloaded into a temporary Internet directory or "cache."

       74.        Forensic evidence. As further described in Attaclunent B, this application seeks

permission to locate not only computer files that might serve as direct evidence of the crimes

described on the warrant, but also for forensic electronic evidence that establishes how

computers were used, the purpose of their use, who used them, and when. There is probable

cause to believe that this forensic electronic evidence will be on any storage medium in the

Subject Premises because:




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       a. Data on the storage medium can provide evidence of a file that was once on the

          storage medium but has since been deleted or edited, or of a deleted portion of a

          file (such as a paragraph that has been deleted from a word processing file).

          Virtual memory paging systems can leave traces of information on the storage

          medium that show what tasks and processes were recently active. Web browsers,

          e-mail programs, and chat programs store configuration information on the

          storage mediwn that can reveal information such as online nicknames and

          passwords.   Operating systems can record additional information, such as the

          attaclunent of peripherals, the attachment of USB flash storage devices or other

          external storage media, and the times the computer was in use. Computer file

          systems can record information about the dates files were created and the

          sequence in which they were created, although this information can later be

          falsified.

       b. As explained herein, information stored within a computer and other electronic

          storage media may provide crucial evidence of the "who, what, why, when,

          where, and how" of the criminal conduct under investigation, thus enabling the

          United States to establish and prove each element or alternatively, to exclude the

          innocent from further suspicion.    In my training and experience, information

          stored within a computer or storage media (e.g., registry information,

          communications, images and movies, transactional information, records of

          session times and durations, internet history, and anti-virus, spyware, and

          malware detection programs) can indicate who has used or controlled the

          computer or storage media. This "user attribution" evidence is analogous to the



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              search for "indicia of occupancy" while executing a search warrant at a residence.

              The existence or absence of anti-virus, spyware, and mal ware detection programs

              may indicate whether the computer was remotely accessed, thus inculpating or

              exculpating the computer owner. Further, computer and storage media activity

              can indicate how and when the computer or storage media was accessed or used.

              For example, as described herein, computers typically contains information that

              log: computer user account session times and durations, computer activity

              associated with user accounts, electronic storage media that connected with the

              computer, and the IP addresses through which the computer accessed networks

              and the internet.    Such information allows investigators to understand the

              chronological context of computer or electronic storage media access, use, and

              events relating to the crime under investigation. Additionally, some information

              stored within a computer or electronic storage media may provide crucial

              evidence relating to the physical location of other evidence and the suspect. For

              example, images stored on a computer may both show a particular location and

              have geolocation information incorporated into its file data.      Such file data

              typically also contains information indicating when the file or image was created.

              The existence of such image files, along with external device connection logs,

              may also indicate the presence of additional electronic storage media (e.g., a

              digital camera or cellular phone with an incorporated camera). The geographic

              and timeline information described herein may either inculpate or exculpate the

              computer user. Last, information stored within a computer may provide relevant

              insight into the computer user's state of mind as it relates to the offense under



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           investigation. For example, infonnation within the computer may indicate the

           owner's motive and intent to commit a crime (e.g., internet searches indicating

           criminal plaIll1ing), or consciousness of guilt (e.g., ruIll1ing a "wiping" program to

           destroy evidence on the computer or password protecting/encrypting such

           evidence in an effort to conceal it from law enforcement).

        c. A person with appropriate familiarity with how a computer works can, after

           examining this forensic evidence in its proper context, draw conclusions about

           how computers were used, the purpose of their use, who used them, and when.

        d. The process of identifying the exact files, blocks, registry entries, logs, or other

           fonns of forensic evidence on a storage medium that are necessary to draw an

           accurate conclusion is a dynamic process.        While it is possible to specify in

           advance the records to be sought, computer evidence is not always data that can

           be merely reviewed by a review team and passed along to investigators. Whether

           data stored on a computer is evidence may depend on other infonnation stored on

           the computer and the application of knowledge about how a computer behaves.

           Therefore, contextual infonnation necessary to understand other evidence also

           falls within the scope of the warrant.

        e. Further, in finding evidence of how a computer was used, the purpose of its use,

           who used it, and when, sometimes it is necessary to establish that a particular

           thing is not present on a storage medium. For example, the presence or absence

           of counter-forensic programs or anti-virus programs (and associated data) may be

           relevant to establishing the user's intent.




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                    75.      Necessity ofseizing or copying entire computers or storage media. In most cases,

             a thorough search of a premises for information that might be stored on storage media often

             requires the seizure of the physical storage media and later off-site review consistent with the

             warrant. In lieu of removing storage media from the premises, it is sometimes possible to make

             an image copy of storage media.        Generally speaking, imaging is the taking of a complete

             electronic picture of the computer's data, including all hidden sectors and deleted files. Either

             seizure or imaging is often necessary to ensure the accuracy and completeness of data recorded

             on the storage media, and to prevent the loss of the data either from accidental or intentional

             destruction. This is true because of the following:

                          a. The time required for an examination. As noted above, not all evidence takes the

                             form of documents and files that can be easily viewed on site.            Analyzing

                             evidence of how a computer has been used, what it has been used for, and who

                             has used it requires considerable time, and taking that much time on premises

                             could be unreasonable. As explained above, because the warrant calls for forensic

                             electronic evidence, it is exceedingly likely that it will be necessary to thoroughly

                             examine storage media to obtain evidence.        Storage media can store a large

                             volume of information. Reviewing that information for things described in the

                             warrant can take weeks or months, depending on the volume of data stored, and

                             would be impractical and invasive to attempt on-site.

                          b. Technical requirements. Computers can be configured in several different ways,

                             featuring a variety of different operating systems, application software, and

                             configurations. Therefore, searching them sometimes requires tools or knowledge

                             that might not be present on the search site. The vast array of computer hardware



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                 and software available makes it difficult to know before a search what tools or

                 knowledge will be required to analyze the system and its data on the Premises.

                 However, taking the storage media off-site and reviewing it in a controlled

                 environment will allow its examination with the proper tools and knowledge.

              c. Variety of forms of electronic media. Records sought under this warrant could be

                 stored in a variety of storage media formats that may require off-site reviewing

                 with specialized forensic tools.

        76.      Nature of examination.      Based on the foregoing, and consistent with Rule

41 (e)(2)(B), the warrant I am applying for would permit seizing, imaging, or otherwise copying

storage media that reasonably appear to contain some or all of the evidence described in the

warrant, and would authorize a later review of the media or information consistent with the

warrant. The later review may require techniques, including but not limited to computer-assisted

scans of the entire medium, that might expose many parts of a hard drive to human inspection in

order to determine whether it is evidence described by the warrant.

        77.      Because multiple people share the Subject Premises as a residence, it is possible

that the Subject Premises will contain storage media that are predominantly used, and perhaps

owned, by persons who are not suspected of a crime. If it is nonetheless determined that that it is

possible that the things described in this warrant could be found on any of those computers or

storage media, the warrant applied for would permit the seizure and review of those items as

well.


                                 FILTER REVIEW PROCEDURES

        Review of the items described in Attachment B will be conducted pursuant to established

procedures designed to collect evidence in a manner consistent with professional responsibility


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     requirements concerning the maintenance of attorney-client and other operative privileges. The

     procedures include use of a designated "filter team," separate and apart from the investigative

     team, in order to address potential privileges.

                                     SEALING ORDER REQUESTED

            78.     It is further respectfully requested that this Court issue an Order sealing, until

     further order of this Court, all papers submitted in support of this application, including the

     application, affidavit, and search warrant, and the requisite inventory notice. Sealing is necessary

     because items and information to be seized are relevant to an ongoing investigation, and

     premature disclosure of the contents of this affidavit and related documents may have a negative

     impact on this continuing investigation and may jeopardize its effectiveness.

                                               CONCLUSION

            79.     Based on the foregoing, your affiant respectfully requests that this Court issue a

     search warrant for the Subject Premises, more particularly described in Attachment A,

     authorizing the seizure of the items described in Attachment B.

                                            Respectfl By submitted,

                                               v/I~ ')          .   ~~
                                            Curtis A. Heide
                                             pecial Agent
                                            Federal Bureau of Investigation

            Sworn to and subscribed before me on this    ;Zy day of January, 2019.


           1~~A-J_~~~_             J. ~
          ~
            UNITED STATES MAGISTRATE JUDGE




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